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                   EXHIBIT 3
            (File Under Seal)
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      UNITED STATES DISTRICT COURT
      SOUTHERN DISTRICT OF NEW YORK
      - - - - - - - - - - - - - - - - - - - - x
      VIRGINIA L. GIUFFRE,

                     Plaintiff,
                                                  Case No.:
            -against-                             15-cv-07433-RWS

      GHISLAINE MAXWELL,

                     Defendant.

      - - - - - - - - - - - - - - - - - - - - x

                               **CONFIDENTIAL**

                   Continued Videotaped Deposition of
             GHISLAINE MAXWELL, the Defendant herein,
             taken pursuant to subpoena, was held at
             the law offices of Boies, Schiller &
             Flexner, LLP, 575 Lexington Avenue, New
             York, New York, commencing July 22,
             2016, 9:04 a.m., on the above date,
             before Leslie Fagin, a Court Reporter
             and Notary Public in the State of New
             York.

                             - - -
                   MAGNA LEGAL SERVICES
               1200 Avenue of the Americas
                New York, New York 10026
                      (866) 624-6221
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